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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       v.                                                       DECISION AND ORDER
                                                                      02-CR-255S
MOHAMED ALBANNA, ET AL.,

                            Defendants.


       1.      On October 17, 2005, the Honorable Hugh B. Scott, United States Magistrate

Judge, filed a Report and Recommendation recommending that the portion of Defendants’

omnibus motions requesting suppression of evidence be denied.

       2.      On November 21, 2005, Defendant Ali A. Albanna filed timely Objections to

Judge Scott’s Report and Recommendation in accordance with 28 U.S.C. § 636(b)(1)(C)

and Local Rule 72.3(a)(3). Defendants Mohamed Albanna and Ali Taher Elbaneh did not

file objections.

       3.      This Court heard oral argument on Defendant Ali A. Albanna’s Objections on

January 18, 2006, at which time this Court granted Defendant Ali A. Albanna leave to file

an additional submission. Defendant Ali A. Albanna elected not to file an additional

submission, and this Court took the Objections under advisement on February 1, 2006.

       4.      This Court has thoroughly reviewed de novo Judge Scott’s Report and

Recommendation, Defendant Ali A. Albanna’s Objections thereto, and the applicable law.

Upon due consideration, this Court finds no legal or factual error in Judge Scott’s Report

and Recommendation. Accordingly, Defendant Ali A. Albanna’s Objections are denied and

this Court will accept Judge Scott’s Report and Recommendation in its entirety.
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      IT HEREBY IS ORDERED, that this Court accepts Judge Scott’s October 17, 2005

Report and Recommendation (Docket No. 69) in its entirety, including the authorities cited

and the reasons given therein.

      FURTHER, that Defendant Ali A. Albanna’s Objections thereto (Docket No. 73) are

DENIED.

      FURTHER, that Defendant Ali A. Albanna’s Motions to Suppress (Docket Nos. 29,

42, and 68) are DENIED.

      SO ORDERED.

Dated: February 28, 2006
       Buffalo, New York


                                                         /s/William M. Skretny
                                                        WILLIAM M. SKRETNY
                                                      United States District Judge




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